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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

                                  CASE NO.: 18-cv-60547-COOKE/HUNT

    RENE MOREJON,

            Plaintiff,

    vs.

    JOHNSON CONTROLS, INC.,

            Defendant.                       /

                                 NOTICE OF SELECTION OF MEDIATOR

            Plaintiff, RENE MOREJON, by and through his undersigned counsel, and pursuant to this

    Court’s Order of Referral to Mediation entered on May 7, 2018 [DE#14], hereby files this Notice of

    Selection of Mediator. The parties have agreed to and selected Marlene Quintana, Esq.,

    Gray|Robinson, 333 S.E. 2nd Avenue, Suite 3200, Miami, Florida 33131 (t: 305-416-6880) as the

    mediator in this case.


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                                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 23, 2018, I electronically filed the foregoing document
    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
    served this day on all counsel of record or pro se parties identified on the attached Service List in
    the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
    or in some other authorized manner for those counsel or parties who are not authorized to receive
    electronically Notices of Electronic Filing.

                                                     By:       /s/ Dana M. Gallup____________
                                                               DANA M. GALLUP
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                                             SERVICE LIST
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                                   CASE NO.: 18-cv-60547-COOKE/HUNT

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